Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 1 of 22




                 EXHIBIT 10
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 2 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 3 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 4 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 5 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 6 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 7 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 8 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 9 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 10 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 11 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 12 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 13 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 14 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 15 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 16 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 17 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 18 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 19 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 20 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 21 of 22
Case 5:18-cr-00258-EJD Document 1023-11 Filed 09/16/21 Page 22 of 22
